                     DiH----Zft
oo                                          CD                                              -
1OC)h                ctctCD-                             CDftDIH-iQ)
D                    CDCDCDH-               II               ft•
M   ft               DiCDCDNJ                              tICD    ti
onft                 -<H-QicD-              C)           0 Di-
ftft(D               CflH-Dic-tfD                   CD   i   0
iDi                    CDftDlH-co           0.           -     DOCnc-cQ
Oftct0.ft                   ft0’   1        Q                  ft        ftCDt
   CDCDCDO           0CDct0        H-       CD
   ShCD              ct0.H-CD    H-ct             OC     CDft ft     0
0CDCDCD                   ftft0CD           (12   M•     CD     CD0
 J0I0(1              ctH-0- 0               0.    H-ft        jDi.   4
(flftftQ-            0OCD      QErt         CD    •      ftH-
                                                         4
                                                         C
   (oCnQift                                                          0
                          Dirt. 0.0         H            CDftDiftft
     • ZCD           tftDi0.- H-            H-      <    HH0.H-0.X
0      çt-           CD0.CDCD    OH         0.    Z.     CflCDCDDiCD)
ctH-   i)O           MCD))     0.CD         Di    0      CDCDMftHI-
                                                                                                Case 2:09-cr-00130-PGS




    ftft        Dl           Dl    Q        C)      0    <ft    HH-
H      C)ftft        H-Dlft0.C)H-0                  Dl        rjH-Q.
CDE      0.H-        ftey0.CDDiftCD               cDH    C)         CDC)cupi
OH-rtDl<                OCuhtDi)   (/)            øC)    co         ftC)
CD F—0.ftCD          Cc < ctCD H-0.ft               Dl   cs         CD   -
H-ftCD    -          OCD     C)OH-                ft<    C)         jQ
           H-        C)   C)0.rtHft               ftCD   CX)        DlOCt’i
CDHCDftft            0.HOCDH-CD0.                 C)                çj.     ()
0.CD   0.               CDOCIQ(1                     Z                 HCJ)tZj
    ftCDH-CD         DlH.C)ft       ftrt            Dl              Oct.
                        CDCIXCOCD                                   0     0
C)Hft      C)        MMCD      ctC1ft               H-              C
<C)      00          CCDft—Di        0.             C)              M     C
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     ft0             ftC)       OCD                 Dl              ft
Cflft0.ftCD          H-OhhctDio                     ft              0.
C0.Dl      H         C)(D00ctCCO                    H-              0
C)CDftCXC)           C)0.H      (100                0               0
0.E4     CD                   ftDiC                 C)              Cc
     ctCDCD             ftccH-CDH                                   CD
   C0.C)                (10.       Hft                                           H
ftC)CDH-ft              ftCDC)-                     C)                           H-
DIM      0              ft         H.H              C)                           ft
ftCDOC)0.               CD00Di0CD
CDCDO      CD           HCDC)M<                                                  (11
                        • —tD0.      0
CD    CD0.CD               CDH     C1
C)ftHCD0.                  C)   C)CDCD                                           ft
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ft0C)       <           0.DiH-ct                                                 CXI
cc    0                 CDiC)CDH-                                                C)
   OCDHH-               ftC)<H-C)ft                                              LX)   ‘I
c-f0000                 CDft     ft0.Cn
00ft0.ct                   CflCi)HDI
   C)    00             ft    ftH-C)0
      MOM               51C)DJOftM
Dl CD CD ft                Dl ft Cc Cc 0.
ftftC)H-Cc              0.CcCD         CD
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CD. CD0                       ft0M
•     H-C)Q            —      CDDIDI
       c   0            N)    C)0ft0                -


    CD0C                      ftDlC)H
    0.DictC)           —      DiC)Dl
    CD     C))          0
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